                                                Entered on Docket
                                                July 31, 2020
                                                EDWARD J. EMMONS, CLERK
                                                U.S. BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF CALIFORNIA


                                                    Signed and Filed: July 31, 2020
 1   DAVID BURCHARD
 2   CHAPTER 13 STANDING TRUSTEE
     P.O. BOX 8059
 3   FOSTER CITY, CA 94404
     (650)345-7801 FAX(650)345-1514
 4   (707)544-5500 FAX(707)544-0475                 ________________________________________
                                                    DENNIS MONTALI
 5                                                  U.S. Bankruptcy Judge

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 9                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF CALIFORNIA
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     In re:                                           Case No.: 20-10093 DM
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     NORMA MATHILDE FLORES
13
                                                      Chapter 13
14                               Debtor(s)
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                        ORDER OF DISMISSAL PRIOR TO CONFIRMATION
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     On June 22, 2020, DAVID BURCHARD, Trustee filed a Motion to Dismiss
17   case.
18
     The Court finds that notice of the motion upon Debtor(s) and counsel
19   was proper.
20
     Debtor(s) having failed to file timely opposition to Trustee’s
21   motion, the Court hereby orders:
22
     IT IS NOW ORDERED that the Debtor(s)’ proceedings herein be
23
     dismissed, and that any restraining orders heretofore issued be
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     dissolved.       The Chapter 13 Trustee shall submit at a later date his
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     Trustee’s Final Report for approval by the court.
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                                        **END OF ORDER**
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 1                                COURT SERVICE LIST
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 3   NORMA MATHILDE FLORES
 4   1195 SANTA BARBARA DRIVE

 5   SANTA ROSA, CA 95404

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